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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                   CASE NO.: 20-cv-22471-DPG

  NORTH AMERICAN SUGAR INDUSTRIES,
  INC.,

         Plaintiff,
  v.

  XINJIANG GOLDWIND SCIENCE &
  TECHNOLOGY CO., LTD., GOLDWIND
  INTERNATIONAL HOLDINGS (HK) LTD.,
  DSV AIR & SEA INC., BBC CHARTERING
  USA, LLC and BBC CHARTERING
  SINGAPORE PTE LTD.,

         Defendants.
                                               /

                  DEFENDANT GOLDWIND INTERNATIONAL
         HOLDINGS (HK) LTD.’S OPPOSITION TO PLAINTIFF’S MOTIONS
    FOR LEAVE TO CONDUCT JURISDICTIONAL DISCOVERY AND TO STAY THE
   BRIEFING SCHEDULE FOR DEFENDANTS’ PERSONAL JURISDICTION MOTIONS

         The jurisdictional discovery that Plaintiff North American Sugar Industries Inc.

  (“Plaintiff”) requests will not uncover facts that could impact this Court’s personal jurisdiction

  analysis as to Defendant Goldwind International Holdings (HK) Ltd. (“Goldwind International”).

  As such, Goldwind International submits the following opposition to Plaintiff’s Motion for

  Leave to Conduct Jurisdictional Discovery (the “Motion,” ECF No. 59) and Motion to Stay

  Briefing Schedule for Defendants’ Rule 12(b)(2) Motions to Dismiss (ECF No. 60).

                                        INTRODUCTION

         Plaintiff anchors its request for discovery on Goldwind International’s involvement with

  the “Florida stops” and “other relevant contacts with Florida” on the contents of a handful of

  press statements and a single quarterly report. Motion, at pp. 11-13. According to Plaintiff,
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  these scant materials reference Goldwind International as the alleged contracting party with

  Energoimport (the Cuban joint venture developing the subject wind farm) and, given those

  circumstances, “one would expect Goldwind International to have caused or otherwise been

  involved in arranging for the delivery of the relevant equipment to Energoimport.” Id. at p. 13

  (emphasis added).     Plaintiff’s aspirations as to what jurisdictional discovery could show,

  however, are insufficient to overcome the allegations of its own Complaint, the law, and the

  evidence already in the record.

         First, no additional facts regarding the “Florida stops” are needed to aid the Court in its

  two-pronged inquiry on personal jurisdiction. The Complaint on its face alleges that after

  refueling in Miami, the vessels “immediately” proceeded to Cuba without unloading any cargo in

  Florida. See Motion, at 2; Compl. (ECF No. 1), ¶¶ 137, 172. Regardless of whether Goldwind

  International had any role in the “Florida stops” (which it did not), they are in any event too

  attenuated to Plaintiff’s causes of action, which allege an injury sustained outside of Florida, to

  support personal jurisdiction here.    Therefore, discovery on these brief stops pertaining to

  activity that occurred outside of Florida simply cannot uncover facts demonstrating that the long-

  arm statute is satisfied, Farrell v. Royal Caribbean Cruises, Ltd., 917 F. Supp. 2d 1248, 1254

  (S.D. Fla. 2013), or that exercising personal jurisdiction over Goldwind International would

  comport with due process and traditional notions of fair play and substantial justice, Deane v.

  Royal Caribbean Cruises, Ltd. et al., No. 19-cv-23127 Paperless Order, Dkt. No. 33 (S.D. Fla.

  Sept. 9, 2016) (J. Gayles). Second, Plaintiff’s own pleading and the record evidence filed in

  connection with another Defendant’s jurisdictional motion to dismiss reflects that Goldwind

  International was not the shipper for the voyage that contained the windfarm equipment. Third,

  Plaintiff’s request for discovery on Goldwind International’s “other relevant contacts with

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  Florida” is improper because Plaintiff does not allege general jurisdiction in Florida, and the

  effort is tantamount to an impermissible fishing expedition. See Wolf v. Celebrity Cruises, Inc.,

  683 F. App’x 786, 792 (11th Cir. 2017). For these reasons, the Motion should be denied as to

  Goldwind International.1

                                          BACKGROUND

         On June 15, 2020, Plaintiff filed this action under Title III of the Cuban Liberty and

  Democratic Solidarity (LIBERTAD) Act of 1996 (22 U.S.C. §§ 6081–85) (the “Act”), alleging

  that Goldwind International, along with the other Defendants, trafficked in a port confiscated

  from Plaintiff (Puerto Carupano) by the Cuban government. See generally Compl. (ECF No. 1).

  Specifically, Plaintiff claims that the Defendants violated the Act by “coordinat[ing] at least two

  separate voyages that delivered and unloaded equipment [from China] . . . , by way of Florida,

  for use in the Herradura Wind Farm Project.” Id. ¶¶ 103, 198–203. The first voyage was

  completed by the vessel BBC Jade; the second voyage was completed by the vessel BBC

  Moonstone. Plaintiff further (and erroneously) alleges that Goldwind International manufactured

  the equipment that was shipped to Puerto Carupano during one of those two voyages, aboard the

  vessel BBC Moonstone. See id. ¶¶ 116-32; 143. Each voyage included a “mere[] . . . refueling

  stop,” id. ¶ 6, in Miami, Florida – where no cargo was sold or unloaded – that enabled the vessels

  to “immediately proceed” on to Cuba after refueling. Id. ¶¶ 136, 137, 172. These stops were

  apparently made to comply with U.S. export law. See Lars Schoennmann’s Decl. (ECF No. 50-

  1) ¶¶15-18; see id. (ECF No. 50-6 at 4). The Complaint’s allegations and the evidence in the


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          Indeed, as argued in in Defendants’ Motion to Stay Discovery and Proceedings Pending
  Resolution of Defendants’ Joint Motion to Dismiss (ECF No. 62), this action should be stayed
  altogether until the Court resolves Defendants’ case-dispositive, joint motion to dismiss the
  Complaint pursuant to Rules 12(b)(1) and (6).

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  record confirm that Goldwind International was not the shipper for the voyage that contained the

  windfarm equipment:

                      Fact                                        Record Cite

  House Bill of Lading DSVFHPR0023752 John Auerbach Decl. in Support of Pl. N. Am.
  pertaining to BBC Moonstone lists LM Sugar Industries Inc.’s Mot. for Leave to
  (China) Investment Co. Ltd. as the shipper.    Conduct Jurisdictional Discovery, (ECF 59-1)
                                                 at 6-8 Ex. A-1 [hereinafter “Auerbach
                                                 Declaration]
  House Bill of Lading DSVFHPR0023755 Id. at 10-12 Ex. A-2
  pertaining to BBC Moonstone lists Xinjiang
  Goldwind Science (“Goldwind Science”) as
  the shipper.
  Goldwind International is not a party to any ZHU Hui Decl. in Support of Goldwind Int’l
  contract with the entity that the Plaintiff in Holdings (HK) Ltd.’s Mot. to Dismiss for
  this lawsuit identifies as Energoimports, Lack of Personal Jurisdiction (ECF 53-1) ¶ 5
  including but not limited to any contract [hereinafter “Hui Declaration”]
  regarding a wind farm in Cuba that the
  Plaintiff in this lawsuit identifies as the
  Herradura Wind Farm Project.
  Goldwind International is not a party to any Id. ¶ 6
  contracts with “Vessel Operating Common
  Carriers,” . . . BBC Chartering USA, LLC or
  BBC Chartering Singapore PTE LTD.,
  regarding the Herradura Wind Farm Project.
  Goldwind International is not a party to any Id. ¶ 7
  contracts with “Non-Vessel Operating
  Common Carriers,” . . . DSV Air & Sea Inc.,
  regarding the Herradura Wind Farm Project.
  Goldwind Science . . . shipp[ed] certain wind Compl. (ECF 1) ¶ 92
  farm equipment to the Confiscated Port, by
  way of Florida, for use in the project.
  Goldwind Science hired and paid DSV, an Id. ¶ 109
  NVOCC, to deliver the Goldwind
  Equipment to the Confiscated Port.
  Export License D112455 for BBC Lars Schoennmann’s Decl. in support of
  Moonstone, United States Department of Defendants BBC Charter USA, LLC and
  Commerce Bureau of Industry and Security BBC Singapore Pte Ltd. Mot. to Dismiss for
  Washington, D.C. 20230 (listing as the Lack of Personal Jurisdiction (ECF 50-6) at
  purchaser “Goldwind, No. 107 Shanghai 1-5 [hereinafter Schoennmann Declaration]




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  Road Econ and Tech Dev Zone Urumqi
  830026, China”)2
  Combined Transport Bill of Lading                 DSV’s Combined Transport Bill of Lading
  DSVFHPR0023755 pertaining to BBC                  (ECF 64-1) Ex. A.
  Moonstone lists Goldwind Science as the
  shipper.
  Combined Transport Bill of Lading                 DSV’s Combined Transport Bill of Lading
  DSVFHPR0023752 pertaining to BBC                  (ECF 64-2) Ex. B.
  Moonstone lists LM (China) Investment Co.
  Ltd. as the shipper.

         Plaintiff has acknowledged from the outset of this action that Goldwind International is a

  Hong Kong entity. Id. ¶ 21. Plaintiff further alleges that BBC Chartering, not Goldwind

  International, presented to the U.S. authorities the shipping documents that were central to

  routing BBC Moonstone through Miami. Id. ¶¶ 113-16. Plaintiff additionally claims that BBC

  Chartering, in coordination with Goldwind Science (a separate Defendant that has not been

  served), Energoimport, and other relevant shippers, carriers, and consignees allegedly

  determined BBC Moonstone’s shipping route. Id.

         On August 31, 2020, Goldwind International moved to dismiss the Complaint for lack

  personal jurisdiction. (ECF 53). In sum, Goldwind International argues that even if the long-

  arm statute is satisfied based on Plaintiff’s theories of specific personal jurisdiction3 (which it is

  not), haling Goldwind International into this Court for the purported refueling stops in Miami

  would offend due process and traditional notions of fair play and substantial justice. Goldwind

  International also attached a declaration to the Motion confirming that it was not a party to the

  underlying contracts pertaining to the windfarm project, was not a party to a contract with any of

  the entities that are alleged to have been involved in the shipping of the equipment, and does not

  2
         The summons issued for Goldwind Science has the address No. 107 Shanghai Road Econ
  and Tech Dev Zone Urumqi 830026, China. (ECF 11) at 1.
  3
           Plaintiff alleges Goldwind International allegedly engaged in business and committed a
  tort in Florida. (ECF 1) ¶¶ 15 and 16.
                                                   5
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  have contacts with Florida or the U.S. that are related to this action. See Hui Decl. in Support of

  Goldwind Int’l’s Mot. to Dismiss for Lack of Personal Jurisdiction (the “Hui Declaration,” ECF

  53-1).

           Against this backdrop, nothing in the Motion supports Plaintiff’s entitlement to

  jurisdictional discovery.

                                        LEGAL STANDARD

           A party is not entitled to jurisdictional discovery simply upon request.       To receive

  jurisdictional discovery, a party must demonstrate that there is “a genuine dispute concerning

  jurisdictional facts necessary to decide the question of personal jurisdiction.” In re Takata

  Airbag Prod. Liab. Litig., 396 F. Supp. 3d 1101, 1156 (S.D. Fla. 2019) (holding that plaintiffs

  were not entitled to jurisdictional discovery because the allegations in plaintiffs’ complaint

  neither satisfied the long-arm statute nor due process) (emphasis added) (citation omitted). A

  genuine dispute does not exist simply because the parties offer contradicting evidence on a fact

  that is not material to determine the Court’s jurisdiction over a defendant. See Bernardele v.

  Bonorino, 608 F. Supp. 2d 1313, 1318, 1321 (S.D. Fla. 2009) (granting defendants’ motion to

  dismiss and denying plaintiff’s request for jurisdictional discovery despite competing

  declarations offered by the parties because the conflict did not present a material issue to the

  jurisdictional question). Instead, a genuine dispute exists when the Court “cannot resolve the

  [jurisdictional] issue without additional evidence.” Evans v. Wurkin Stiffs, Inc., No. 15-61934-

  CIV, 2016 WL 8793339, at *5 (S.D. Fla. Mar. 21, 2016) (denying motion for jurisdictional

  discovery where plaintiff sought information that would not “resolve a disputed jurisdictional

  fact needed to establish that exercising jurisdiction would comport with traditional notions of fair

  play and substantial justice.”) (internal quotations omitted).

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         Courts routinely deny general requests for jurisdictional discovery that do not connect the

  discovery sought to the plaintiff’s arguments as to how personal jurisdiction over a defendant

  exists. See Wolf v. Celebrity Cruises, Inc., 683 F. App’x 786, 792 (11th Cir. 2017) (affirming

  denial of plaintiff’s generic request for jurisdictional discovery regarding foreign defendant);

  Instabook Corp. v. Instantpublisher.com, 469 F. Supp. 2d 1120, 1127 (M.D. Fla. 2006) (denying

  request for jurisdictional discovery when requesting party “had only generally requested

  jurisdiction discovery, without explaining how such discovery would bolster its contentions”).

         Overall, the “qualified right” to jurisdictional discovery “is not an unconditional right that

  permits a plaintiff to seek facts that would ultimately not support a showing of personal

  jurisdiction.” In re Takata, 396 F. Supp. 3d 1101, 1156–58. Indeed, district courts should not

  “reserve ruling on [a pending] motion to dismiss in order to allow the plaintiff to look for what

  the plaintiff should have had—but did not—before coming through the courthouse doors.”

  Yepez v. Regent Seven Seas Cruises, No. 10-23920-CIV, 2011 WL 3439943, at *2 (S.D. Fla.

  Aug. 5, 2011) (denying motion for jurisdictional discovery and noting that facts regarding

  whether a defendant “is not registered to do business in Florida, . . .does not do business in

  Florida, . . . does not have any registered agents for service of process in the United States, . . .

  [was] not owned or controlled by citizens of Florida, and . . . ha[d] not committed a tort or

  breached a contract in Florida . . . are the types of facts plaintiffs are expected to investigate

  prior to filing suit.”) (emphasis added).

                                              ARGUMENT

         The Court already has the facts that it needs to determine whether it has jurisdiction over

  Goldwind International. Plaintiff nonetheless asserts that “[d]iscovery here should . . . [1] reveal

  the precise role Goldwind International played in the requisite Florida stops and [2] any other

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  relevant contacts with Florida.” Motion, at p. 13. Plaintiff should not be granted leave to

  conduct this discovery because the Complaint facially demonstrates that it is unnecessary to the

  specific-jurisdiction analysis, as Plaintiff’s alleged injury occurred outside of Florida, and the

  record already shows that there is no genuine dispute that Goldwind International did not ship

  the wind farm equipment on board the vessels that made the refueling stops.

  I.     The “Florida Stops” Cannot Support Personal Jurisdiction
         Over Goldwind International, and the Record Confirms that
         Goldwind International Did Not Ship the Subject Equipment

         As Goldwind International set out in its Rule 12(b)(2) motion to dismiss, determining

  jurisdiction over a nonresident defendant is a two-pronged inquiry. First, the Court is to assess

  whether the long-arm statute is satisfied and, second, if it is satisfied, whether exercising

  jurisdiction over the defendant comports with due process and traditional notions of fair play and

  substantial justice. Madara v. Hall, 916 F.2d 1510 (11th Cir. 1990) (holding that Florida court

  did not have personal jurisdiction over an out of state entertainer in a libel action stemming from

  an interview that appeared in magazines sold in Florida). Courts deny jurisdictional discovery

  when the record does not confirm that the proposed jurisdictional discovery relates to this

  inquiry.

         Regarding the first prong, in Farrell v. Royal Caribbean Cruises, Ltd., the Court held that

  jurisdictional discovery would not impact its analysis regarding the application of “the long-arm

  statute [because] there is no dispute that the tort took place outside of Florida territorial waters . .

  . [and] any discovery on the [defendant’s business activity in Florida] will be inconsequential.”

  917 F. Supp. 2d 1248, 1254 (S.D. Fla. 2013); see also RMS Titanic, Inc. v. Kingsmen Creatives,

  Ltd., 579 F. App’x 779, 790–91 (11th Cir. 2014) (affirming denial of jurisdictional discovery

  because the alleged conversion occurred outside of Florida); United Techs. Corp. v. Mazer, 556

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  F.3d 1260, 1282 (11th Cir. 2009) (affirming denial of jurisdictional discovery because the

  alleged conspiracy occurred outside of and was not otherwise directed at Florida); Del Valle v.

  Trivago GmbH, No. 19-22619-CIV, 2020 WL 2733729 at *3 (S.D. Fla. May 26, 2020) (denying

  jurisdictional discovery where alleged trafficking under the Act occurred in Cuba, not Florida).

         As to the second prong, in Deane v. Royal Caribbean Cruises, Ltd. et al., this Court

  denied a plaintiff’s motion for jurisdictional discovery in a personal injury action against foreign

  entities where she sustained injuries during an excursion taken on a cruise stop outside of

  Florida. No. 19-cv-23127 (J. Gayles), Paperless Order, Dkt. No. 33. Specifically, the Court

  noted that the plaintiff “fail[ed] to establish a genuine factual dispute that must be resolved”

  upon the foreign entities’ argument that even if all of the plaintiff’s allegations were true,

  exercising personal jurisdiction over them would offend due process. Id. The Court further

  noted that the plaintiff “fail[ed] to specify what information could or should [have] be[en]

  discovered through jurisdictional discovery that would affect the Court’s jurisdictional analysis.”

  Id. (citing Posner v. Essex Insur. Co., 178 F.3d 1209, 1214 n.7 (11th Cir. 1999) (internal

  quotations omitted); World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 295 (1980)

  (holding that due process required that an Oklahoma court did not have personal jurisdiction over

  defendant in a products liability suit stemming from an accident in Oklahoma involving New

  York residents passing through Oklahoma); Oldfield v. Pueblo De Bahia Lora, S.A., 558 F.3d

  1210, 1221 (11th Cir. 2009) (hold that exercising jurisdiction over nonresident defendant

  violated due process).

         Here, Plaintiff’s request for undefined types of jurisdictional discovery would not inform

  either prong of the Court’s jurisdictional analysis and thus should be denied.




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                  A.      Discovery on Goldwind International’s alleged involvement with
                          the “Florida stops” is facially unnecessary to determine jurisdiction

          Plaintiff’s Motion ignores that the alleged “Florida stops” are altogether insufficient to

   invoke the Court’s specific personal jurisdiction over Goldwind International, regardless of its

   alleged involvement with them. The alleged tort occurred outside of Florida, and a tort must be

   directed at the forum (which Plaintiff, itself not a Florida entity, does not allege) to satisfy the

   long-arm statute. Mazer, 556 F.3d at 1282 (declining personal jurisdiction over defendant where

   plaintiff “alleged nothing that clearly connected [the defendant] to a conspiracy made or carried

   out in Florida.”).4 In Del Valle, which also asserted claims under the Act, the Court denied

   jurisdictional discovery because alleged trafficking in property in Cuba is not tortious activity in

   or directed to Florida, and thus specific personal jurisdiction was lacking. 2020 WL 2733729 at

   *3. The same is true here. Any alleged injury occurred outside of Florida. See Compl. (ECF

   No. 1) ¶¶ 74, 82, 84, 85, and 112.           Indeed, Plaintiff alleges that “[t]he contract with

   Energoimport was to supply wind turbines and related equipment to the Herradura Wind Farm

   Project [in Cuba],” and that Goldwind International “knew or had reason to know that” of the

   project’s “importance in the Cuban economy.” Id. ¶ 199. Plaintiff even asserts that the alleged

   confiscated port is “critical to [Plaintiff’s] business operations in Cuba and abroad[,]” id. ¶ 67, –

   not Florida, or the U.S. for that matter. Additionally, like the Court held in Farrell, because the



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           In any event, the Court must first determine if Plaintiff has stated a claim for conspiracy
   altogether before it can consider whether the alleged tort of conspiracy can support exercising
   personal jurisdiction over Defendants. Taylor v. Moskow, 717 F. App’x 836, 839–40 (11th Cir.
   2017) (“In Florida, before a court addresses the question of whether specific jurisdiction exists
   under the long-arm statute, the court must determine whether the allegations of the complaint
   state a cause of action.”). Either way, the stop in Miami was not part of a “conspiracy” concocted
   to ship equipment to Cuba –the stop in Miami, Florida was cleared by the authorities and the
   shipping documents state that Cuba was the destination for the equipment. (ECF) 50-6 1-4.

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   alleged tort occurred outside of Florida, any discovery on Goldwind International’s business

   activity in the state would be irrelevant.5

          As for the second prong, even if the long-arm statute could be satisfied, jurisdictional

   discovery would do nothing to change the Court’s analysis regarding due process and traditional

   notions of fairness and substantial justice. Like the plaintiff in Deane, even accepting all of

   Plaintiff’s allegations as true, Plaintiff still “fails to specify what information could or should be

   discovered through jurisdictional discovery” that would show Goldwind International should

   have expected to be haled into this Court. No. 19-cv-23127 (J. Gayles), Paperless Order, Dkt.

   No. 33. A party must have “fair warning that a particular activity may subject [it] to the

   jurisdiction of a foreign sovereign.” Madara, 916 F.2d at 1516. The alleged injury occurred

   outside of Florida and, as the shipping documents show, Goldwind International did not ship the

   equipment. However, even if it had been involved with the stop, the requirement for minimum

   contacts “assures that a defendant will not be haled into a jurisdiction as a result of . . . random,

   fortuitous, or attenuated contacts . . . or because of the unilateral activity of a third person.” Id.

   No jurisdictional discovery as to Goldwind International could reasonably change this analysis.

                  B.      The record reflects that there is no genuine dispute regarding
                          Goldwind’s International’s involvement with the “Florida stops”

          Not only is jurisdictional discovery on the “Florida stops” facially unnecessary, there is

   no genuine dispute in the record regarding Goldwind International’s involvement. Jurisdictional

   5
           Regardless any such business activity would have to be sufficiently related to the
   plaintiff’s claims and must confer a pecuniary benefit to the defendant for the Court to have
   jurisdiction over the defendant. RMS Titanic, 579 F. App’x at 783. Plaintiff alleges that the
   “Florida stops” constitute the business activity underlying its claims. However, none of the
   equipment onboard BBC Moonstone was unloaded in Florida. Compl. (ECF 1) ¶¶ 136, 199. As
   such, “there is no indication that the receipt of additional information . . . would . . . undermine
   the conclusion that . . . one [refueling stop] . . . does not amount to a general course of business
   activity in the state for pecuniary benefit Florida.” RMS Titanic, 579 F. App’x at 790–91.

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   discovery is improper when the parties submit competing declarations that are otherwise

   reconcilable.   Bernardele, 608 F. Supp. 2d at 1321.      Indeed, Goldwind International and

   Plaintiff’s declarations both show that Goldwind International did not ship the equipment. The

   shipping documents attached to Plaintiff’s declaration do not identify Goldwind International as

   the shipper for the BBC Moonstone, see Auerbach Declaration (ECF No. 59-1) at 6-8, and

   Goldwind International’s declaration confirms that it was not a party to any agreement to ship

   the equipment. See Hui Declaration (ECF No. 53-1) ¶¶ 5-7. The record elsewhere reflects the

   same. See, e.g., Schoennmann Decl. (ECF 50-6) (export license for BBC Moonstone listing

   “Goldwind” as the purchasing and including Goldwind Science’s address); (ECF 11) at 1

   (Goldwind Science’s address matching the BBC Moonstone export license); (ECF 64-1) (Ex. A)

   (Combined Transport Bill of Lading for BBC Moonstone HPR0023755 listing Goldwind

   Science as shipper); (ECF 64-2) (Ex. B) (Combined Transport Bill of Lading for BBC

   Moonstone HPR0023752 listing L.M. as shipper). The Complaint also explicitly alleges that

   parties other than Goldwind International hired the vessels to ship the equipment, directed the

   route through Miami, and prepared and submitted the shipping documents to the U.S. authorities.

   Compl. (ECF 1) ¶¶ 92, 109, and 113-16. Accordingly, there is no material conflict in the

   evidence and no additional discovery is needed to show that Goldwind International did not ship

   the equipment. Bernardele, 608 F. Supp. 2d at 1321 (denying jurisdictional discovery for

   nonresident defendants and noting that “[h]ere, the declarations offered by the parties reflect

   certain contradictions. However, these contradictions must be sufficiently material to warrant

   jurisdictional discovery or an evidentiary hearing.”); Evans, 2016 WL 8793339, at *5 (“Because

   Plaintiffs have not established a genuine factual dispute that must be resolved in order for the




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   Court to decide the question of personal jurisdiction, Plaintiffs’ request for jurisdictional

   discovery shall be denied.”).

          Plaintiff’s reliance on the press releases is a red herring. Plaintiff claims that “Goldwind

   International fails to acknowledge its own repeated public statements (also cited the Complaint)

   announcing its execution of a supply contract for the equipment transported on the two voyages.”

   Motion, at p. 3. The Complaint, however, specifically alleges that the Goldwind equipment was

   on board the BBC Moonstone voyage, not the BBC Jade. Compl., ¶ 143. Moreover, the press

   releases make no mention of either voyage, let alone both of them, as Plaintiff now would have

   the Court believe. Motion, at p. 12 nn. 8-10 (identifying the press releases upon which Plaintiff

   relies, none of which mentions any voyage).

          The Court should not be persuaded by Plaintiff’s confused attempt to manufacture a

   dispute between Goldwind International’s press publications and the record evidence. Plaintiff

   first claims that “Goldwind International . . . caused its parent company . . . to ship wind farm

   equipment from China to a state-owned Cuban entity[,]” id. at p. 5, and then contradictorily

   claims that “as a wholly owned subsidiary . . . Goldwind International had no reason to announce

   the activities of its parent.” Id. at p. 12. Not only is Plaintiff’s position inconsistent, it is

   logically backwards. A subsidiary does not control its parent company, and therefore does not

   cause the parent company to act. But either way, it does not matter because all of the record

   evidence confirms that Goldwind International did not sign the contract for the underlying

   windfarm project that has no connection to Florida or the “Florida stops.”

          Additionally, the cases upon which Plaintiff relies are distinguishable. Their facts and

   procedural posture differ from Plaintiff’s here in several respects. See Ash v. Royal Caribbean

   Cruises Ltd., No. 13-20619-CIV, 2013 WL 12122147, at *1 (S.D. Fla. June 11, 2013) (alleging

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   claims of several plaintiffs regarding defendant’s multiple contacts with the Florida); Perricone

   v. Carnival Corp., No. 15-cv-20309 (J. Gayles) (alleging general jurisdiction in Florida); Blanco

   v. Carigulf Lines, 632 F. 2d 656, 658 (5th Cir. 1980) (requiring defendant to answer

   interrogatories that were specific to jurisdictional factors under maritime law that were

   established by the U.S. Supreme Court). In reality, Plaintiff impermissibly moves for discovery

   simply to “test” Goldwind International’s declaration. However, seeking to “test” a defendant’s

   declaration is not the standard to obtain jurisdictional discovery. Instead, Plaintiff here must

   rebut Goldwind International’s declaration with evidence and identify what discovery it expects

   to take that will show that the equipment on board the vessels during the “Florida stops” were

   manufactured, sold, or unloaded in Florida, or that the alleged trafficking happened in Florida.

   Farrell, 917 F. Supp. 2d at 1254. Plaintiff has not done so, and has failed in its burden to show

   entitlement to jurisdictional discovery.

   II.    Plaintiff’s Request for Discovery on Goldwind International’s “Other
          Relevant Florida Contacts” Is Substantively and Procedurally Unjustified

          Plaintiff’s intent to seek discovery on Goldwind International’s alleged “other relevant

   Florida contacts” is unsupported by Plaintiff’s jurisdictional allegations and is otherwise

   impermissible. Jurisdictional discovery “should not serve as fishing expeditions, and, as such,

   [is] appropriate only when a party demonstrates that it can supplement its jurisdictional

   allegations.” Wolf, 683 F. App’x at 792; Instabook Corp., 469 F. Supp. 2d at 1127. Moreover,

   district courts should not “reserve ruling on [a pending] motion to dismiss in order to allow the

   plaintiff to look for what the plaintiff should have had—but did not—before coming through the

   courthouse doors.” Del Valle, 2020 WL 2733729; Yepez, 2011 WL 3439943, at *2. Plaintiff

   knew since the day it initiated this action that Goldwind International is not a Florida resident,

   (ECF 1) ¶ 21, and is just now looking to seek what appears to be basic jurisdictional facts that
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   should have been ascertained before filing the Complaint.            This is precisely the type of

   jurisdictional discovery that is not allowed.

          Also, there is no clarity to what Plaintiff is seeking regarding “other relevant contacts.”

   This is a basis for denial within itself. Hinkle v. Cirrus Design Corp., 775 Fed. Appx. 545, 550

   (11th Cir. 2019) (affirming denial of jurisdictional discovery where plaintiffs “did not explain . .

   . what facts or even what type of facts they wish[ed] to discover if given the opportunity.”).

   Plaintiff’s alleges specific jurisdiction in Florida based on the “Florida stops” and a tort that

   occurred outside the jurisdiction. Consequently, Plaintiff does not (and cannot) allege general

   jurisdiction in this forum over Goldwind International. Therefore, such a broad request does not

   relate to Plaintiff’s actual jurisdictional allegations and is impermissible fishing.

   III.   No Stay of Briefing on the Rule 12(b)(2) Motions Is Warranted

          Finally, no stay of briefing on the motions to dismiss for lack of personal jurisdiction

   (Goldwind International’s as well as those of its co-Defendants) to allow for jurisdictional

   discovery is warranted. Not only has Plaintiff failed to establish its entitlement to any such

   discovery, but the proper procedure, as argued in Defendants’ Motion to Stay Discovery and

   Proceedings Pending Resolution of Defendants’ Joint Motion to Dismiss (ECF No. 62), is to stay

   all proceedings pending resolution of that potentially case-dispositive motion. See Chudasama

   v. Mazda Motor Corp., 123 F.3d 1353, 1368 (11th Cir. 1997) (“If the district court dismisses a

   nonmeritorious claim before discovery has begun, unnecessary costs to the litigants and to the

   court system can be avoided.”); United States v. Med-Care Diabetic & Med. Supplies, Inc., No.

   10-81634-CIV, 2014 WL 12284078, at *1 (S.D. Fla. June 17, 2014) (granting motion to stay

   discovery until resolution of motion to dismiss).




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                                                CONCLUSION

          For the foregoing reasons, the Court should enter an Order denying Plaintiff’s Motion for

   Leave to Conduct Jurisdictional Discovery as to Goldwind International.6


   Dated: October 13, 2020

                                                 Respectfully submitted,

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           Alternatively, if the Court is inclined to permit any jurisdictional discovery as to
   Goldwind International (and it should not for the reasons stated herein), it should be limited to
   targeted, written discovery. See Steinberg v. A Analyst Ltd., No. 04-60898-CIV, 2007 WL
   4287665, at *3 (S.D. Fla. Dec. 5, 2007) (allowing only “narrowly tailored and limited . . . written
   jurisdictional discovery” on personal jurisdictional issues raised in the motion to dismiss that did
   not “stray” into the merits or other aspects of the motion to dismiss).
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on October 13, 2020, the foregoing was filed with the Clerk of Court

   using CM/ECF, which will serve a Notice of Electronic Filing on all counsel of record.


                                               By: /s/ Allen P. Pegg
                                                      Allen P. Pegg




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